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 5
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 6

 7
                           SUPERIOR COURT OF THE STATE OF CALIFORNIA
 8
                                      FOR THE COUNTY OF SAN DIEGO
 9

10
     LINDSEY MACK, an individual,                  )       CASE NO. 37-2023-00037783-CU-OE-CTL
11                                                 )
                   Plaintiff,                      )       Assigned to Hon. Timothy Taylor, Dept. C-72
12                                                 )
             v.                                    )       DEFENDANT WESTERN GOVERNORS
13                                                 )       UNIVERSITY’S ANSWER TO PLAINTIFF’S
     WESTERN GOVERNORS UNIVERSITY, a               )       COMPLAINT
14   Nonprofit Corporation, and DOES 1 through 20, )
     inclusive,                                    )
15                                                 )
                   Defendants.                     )
16                                                 )       Complaint filed: August 31, 2023
                                                   )
17                                                 )

18
            Defendant WESTERN GOVERNORS UNIVERSITY (“Defendant”), on behalf of itself and for
19
     no other defendant, hereby responds to the Complaint (“Complaint”) filed by Plaintiff LINDSEY MACK
20
     (“Plaintiff”) and admits, denies, and otherwise pleads as follows:
21
                                                 GENERAL DENIAL
22
            Under the provisions of section 431.30(d) of the California Code of Civil Procedure, Defendant
23
     generally and specifically denies each and every allegation contained in Plaintiff’s Complaint, and each
24
     cause of action set forth therein, and denies that Plaintiff and the allegedly aggrieved employees were
25
     injured or damaged as alleged, or at all.
26
     ///
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     ///
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            DEFENDANT WESTERN GOVERNORS’ UNIVERSITY’S ANSWER TO PLAINTIFF’S COMPLAINT
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 1                                         AFFIRMATIVE DEFENSES

 2          Defendant alleges the following affirmative defenses against the claims of Plaintiff. In so doing,

 3   Defendant does not concede that it has the burden of production or proof as to any affirmative defense

 4   asserted below. Further, Defendant does not currently or sufficiently know all the facts, concerning the

 5   conduct of Plaintiff that would enable Defendant to state all affirmative defenses at this time. Accordingly,

 6   Defendant will seek leave of this Court to amend this Answer should it later discover facts demonstrating

 7   the existence of additional affirmative defenses:

 8                                     FIRST AFFIRMATIVE DEFENSE

 9                                     (Failure to State a Cause of Action)
10          1.      Plaintiff’s Complaint as a whole, and each purported cause of action alleged therein, fails

11   to state facts sufficient to constitute a cause of action against Defendant upon which relief may be granted.

12                                    SECOND AFFIRMATIVE DEFENSE

13                                          (After Acquired Evidence)

14          2.      To the extent discovery may disclose information which could serve as a basis for the

15   termination of Plaintiff’s employment, Plaintiff is barred from recovery by the after-acquired evidence

16   doctrine.

17                                     THIRD AFFIRMATIVE DEFENSE

18                                            (Statutes of Limitation)

19          3.      Any recovery on Plaintiff’s Complaint is barred by the applicable statutes of limitation,

20   including but not limited to, Code of Civil Procedure sections 335.1, 337, 338, 339, and 343, and

21   California Government Code sections 12940, 12960, and 12965.

22                                    FOURTH AFFIRMATIVE DEFENSE

23                                             (Equitable Doctrines)

24          4.      Any recovery on Plaintiff’s Complaint, or any purported cause of action alleged therein, is

25   barred under the equitable doctrines of consent, waiver, estoppel, and unclean hands.

26   ///
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             DEFENDANT WESTERN GOVERNORS UNIVERSITY’S ANSWER TO PLAINTIFF’S COMPLAINT
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 1                                     FIFTH AFFIRMATIVE DEFENSE

 2                                                    (Laches)

 3          5.      Any recovery on Plaintiff’s Complaint, or any purported cause of action alleged therein, is

 4   barred in that Plaintiff was guilty of laches and unreasonable delay in bringing this action and in asserting

 5   any claim for relief against Defendant.

 6                                     SIXTH AFFIRMATIVE DEFENSE

 7                                              (Failure to Mitigate)

 8          6.      Plaintiff’s Complaint, or any purported cause of action alleged therein, is barred in whole

 9   or in part from recovering any damages, or any recovery must be reduced, by virtue of Plaintiff’s failure
10   to exercise reasonable diligence to mitigate her alleged damages.

11                                   SEVENTH AFFIRMATIVE DEFENSE

12                                              (Failure to Exhaust)

13          7.      To the extent that Plaintiff has made allegations in the Complaint or attempts to assert

14   claims which relate to alleged acts of alleged discrimination or retaliation not encompassed within a charge

15   filed with the California Department of Fair Employment and Housing (“DFEH”) or any appropriate state

16   or local agency, these claims and/or events are not properly before the Court, jurisdictionally or otherwise.

17                                    EIGHTH AFFIRMATIVE DEFENSE

18                                                     (Offset)

19          8.      Any recovery on Plaintiff’s Complaint, or any purported cause of action alleged therein, is

20   barred in whole or in part because Defendant is entitled to an offset for any monies Plaintiff received from

21   any source after Plaintiff ceased to be employed by Defendant under the doctrine prohibiting double

22   recovery set forth by Witt v. Jackson (1961) 57 Cal.2d 57 and its progeny.

23                                     NINTH AFFIRMATIVE DEFENSE

24                         (Legitimate Business Justification / At-Will Employment)

25          9.      Any recovery on Plaintiff’s Complaint, or any purported cause of action alleged therein, is

26   barred because all decisions related to Plaintiff’s at-will employment were based on legitimate, non-
27   discriminatory, and/or non-retaliatory business reasons.

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             DEFENDANT WESTERN GOVERNORS UNIVERSITY’S ANSWER TO PLAINTIFF’S COMPLAINT
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 1                                    TENTH AFFIRMATIVE DEFENSE

 2                                             (Avoidable Consequences)

 3          10.     Plaintiff’s allegations are barred and/or any recovery of damages is precluded because

 4   Plaintiff unreasonably failed to take advantage of available preventive or corrective opportunities or to

 5   avoid harm otherwise. State Dept. of Health Servs. v. Super. Ct. of Sacramento Cnty. (McGinnis) (2000)

 6   31 Cal.4th 1026.

 7                                 ELEVENTH AFFIRMATIVE DEFENSE

 8                                        (Exercise of Reasonable Care)

 9          11.     Any recovery on Plaintiff’s Complaint, or any purported cause of action alleged therein, is
10   barred in whole or in part because Defendant exercised reasonable care to prevent and correct any alleged

11   discriminatory or retaliatory behavior.

12                                  TWELFTH AFFIRMATIVE DEFENSE

13                                (Privileged, Good Faith & Justified Conduct)

14          12.     Any recovery on Plaintiff’s Complaint is barred because Defendant’s conduct was

15   privileged, made in good faith and/or justified under applicable law and for valid business reasons.

16                                THIRTEENTH AFFIRMATIVE DEFENSE

17                                       (Same Decision / Mixed Motive)

18          13.     Any recovery on Plaintiff’s Complaint, or any purported cause of action alleged therein, is

19   barred because, assuming arguendo that discriminatory or retaliatory reasons had been a motivating factor

20   in any employment decisions toward Plaintiff, Defendant would have made the same employment

21   decisions toward Plaintiff in any case for separate legitimate and lawful business reasons.

22                                FOURTEENTH AFFIRMATIVE DEFENSE

23                                                (Undue Hardship)

24          14.     Any recovery on Plaintiff’s Complaint, or any purported cause of action alleged therein, is

25   barred in that accommodation of Plaintiff’s alleged disability would impose an undue hardship upon

26   Defendant.
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             DEFENDANT WESTERN GOVERNORS UNIVERSITY’S ANSWER TO PLAINTIFF’S COMPLAINT
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 1                                 FIFTEENTH AFFIRMATIVE DEFENSE

 2                                  (Workers’ Compensation Pre-emption)

 3          15.     To the extent Plaintiff’s Complaint, or any purported cause of action therein, alleges

 4   emotional or physical injury, this Court lacks jurisdiction, and any recovery is barred by the exclusivity

 5   of remedy under the California Workers’ Compensation Act, Labor Code section 3600, et seq.

 6                                 FIFTEENTH AFFIRMATIVE DEFENSE

 7                                               (No Ratification)

 8          16.     Prior to the filing of Plaintiff’s Complaint, Defendant was unaware of the conduct alleged

 9   in the Complaint and has not ratified, condoned, or adopted any alleged unlawful conduct.
10                                 SIXTEENTH AFFIRMATIVE DEFENSE

11                                           (No Vicarious Liability)

12          17.     As a separate and affirmative defense, Defendant alleges that any loss, injury, or damage

13   incurred by Plaintiff was proximately caused by the negligent or willful acts or omissions of parties whom

14   Defendant neither controlled nor had the right to control, and was not proximately caused by an acts,

15   omissions, or other conduct of Defendant.

16                               SEVENTEENTH AFFIRMATIVE DEFENSE

17                           (Unrelated, Pre-Existing, or Subsequent Conditions)

18          18.     Plaintiff's damages, if any, were proximately caused by unforeseeable, independent,

19   intervening, pre-existing or subsequent, and/or superseding acts beyond the control and unrelated to the

20   actions or conduct of Defendant.

21                               EIGHTEENTH AFFIRMATIVE DEFENSE

22                                           (At-Will Employment)

23          19.     As a separate and affirmative defense, Defendant alleges that Plaintiff’s employment was

24   terminable at-will and thus, the Complaint, and each purported cause of action alleged therein, is barred

25   by Labor Code section 2922.

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             DEFENDANT WESTERN GOVERNORS UNIVERSITY’S ANSWER TO PLAINTIFF’S COMPLAINT
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 1                                 NINETEENTH AFFIRMATIVE DEFENSE

 2                                           (Contributory Negligence)

 3          20.     As a separate and affirmative defense, Defendant alleges that the injuries and damages

 4   alleged in the Complaint were caused by and/or were contributed to by Plaintiff’s own acts or failure to

 5   act and that Plaintiff’s recovery should be reduced by an amount in proportionate to the amount by which

 6   said acts caused or contributed to said alleged injuries or damages.

 7                                TWENTY-FIRST AFFIRMATIVE DEFENSE

 8                                     (Punitive Damages Unconstitutional)

 9          21.     Although Defendant denies that it has committed or has responsibility for any act that could
10   support recovery against Defendant in this lawsuit, if any, to the extent any such act is found, such

11   recovery against Defendant is unconstitutional under numerous provisions of the United States

12   Constitution and the California Constitution.

13                               TWENTY-SECOND FFIRMATIVE DEFENSE

14                                                   (Not Willful)

15          22.     To the extent Claimant seeks statutory penalties for alleged willful failure to comply with

16   the requirements of the Labor Code, such penalties are barred or must be reduced because Respondent did

17   not willfully violate the requirements of Labor Code sections 201, 202, and 203, or any other applicable

18   Labor Code section, Plaintiff suffered no harm, and a good faith dispute exists concerning such alleged

19   violations.

20                               TWENTY-THIRD AFFIRMATIVE DEFENSE

21                                 (Pre-Existing Physical or Mental Conditions)

22          23.     Any recovery on Plaintiff’s claims for emotional distress damages are barred, on whole or

23   in part, to the extent Plaintiff seeks redress for physical and/or emotional injuries arising from pre-existing

24   physical and/or mental conditions.

25

26                              TWENTY-FOURTH AFFIRMATIVE DEFENSE
27                                     (Failure to Perform Responsibilities)

28          24.     Any recovery on Plaintiff’s Complaint, or any purported cause of action alleged therein, is

                                               6
             DEFENDANT WESTERN GOVERNORS UNIVERSITY’S ANSWER TO PLAINTIFF’S COMPLAINT
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 1   barred in whole or in part by Plaintiff’s failure to satisfactorily perform her job responsibilities and

 2   otherwise conduct herself in accordance with the standards and policies of Defendant.

 3                               TWENTY-FIFTH AFFIRMATIVE DEFENSE

 4                                                      (Does)

 5          25.     Defendant is not liable for the actions, conduct, or omissions of those defendants

 6   fictitiously named as Does 1 through 20.

 7                               TWENTY-SIXTH AFFIRMATIVE DEFENSE

 8                                    (Defendants Entitled to Fees and Costs)

 9          26.     Defendant has engaged attorneys to represent it in defense of Plaintiff’s frivolous,
10   unfounded and unreasonable action, and, Defendant is thereby entitled to an award of reasonable

11   attorneys’ fees and costs, including but not limited to pursuant to Government Code section 12965 and

12   Code of Civil Procedure section 128.7, upon judgment thereon in Defendants’ favor.

13                             TWENTY-SEVENTH AFFIRMATIVE DEFENSE

14                                      (Business Necessity/Job Related)
            27.     As a separate and distinct affirmative defense, Defendant alleges, without admitting that
15

16   Defendant engaged in any of the acts or omissions alleged in Plaintiff’s Complaint, that any such acts or

17   omissions were justified by a business necessity and/or were job related because there exists an

18   overriding business purpose for the safe and efficient operation of the business, and the challenged
19
     practice effectively fulfills the business purpose it is supposed to serve.
20

21                               TWENTY-EIGHTH FFIRMATIVE DEFENSE

22                                              (Additional Defenses)

23          28.     Defendant may have additional defenses that cannot be articulated due to Plaintiff’s failure

24   to particularize Plaintiff’s claims, due to the fact that Defendant does not have copies of certain documents

25   bearing on Plaintiff’s claims, and/or due to Plaintiff’s failure to provide more specific information

26   concerning the nature of the alleged damage and claims for certain costs which Plaintiff alleges that

27   Defendant may share some responsibility. Defendant therefore reserves the right to assert additional

28   defenses upon further particularization of Plaintiff’s claims, upon examination of the documents provided,

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             DEFENDANT WESTERN GOVERNORS UNIVERSITY’S ANSWER TO PLAINTIFF’S COMPLAINT
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 1   upon discovery of further information concerning the alleged damage claims and claims for costs, and

 2   upon the development of other pertinent information.

 3          WHEREFORE, Defendant prays for judgment as follows:

 4          1.     That Plaintiff’s Complaint be dismissed in its entirety with prejudice;

 5          2.     That Plaintiff take nothing by this action;

 6          3.     That Plaintiff be denied each and every demand and prayer for relief contained in the

 7                 Complaint;

 8          4.     That Defendant recover its costs of suit and attorneys’ fees incurred herein; and

 9          5.     That Defendant be awarded such other and further relief as the Court deems just and proper.
10

11

12   Dated: October 5, 2023                       JACKSON LEWIS P.C.

13
                                              By:______________________________
14                                               Alison L. Lynch
15                                               Sarah Raoof

16                                                Attorneys for Defendant WESTERN GOVERNORS
                                                  UNIVERSITY
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            DEFENDANT WESTERN GOVERNORS UNIVERSITY’S ANSWER TO PLAINTIFF’S COMPLAINT
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                                              PROOF OF SERVICE
 1
     SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO
 2
     CASE NAME:             Lindsey Mack v. Western Governors’ University, et al.
 3
     CASE NUMBER:           37-2023-00037783-CU-OE-CTL
 4
             I am employed in the County of Orange, State of California. I am over the age of 18 and not a
 5   party to the within action; my business address is 200 Spectrum Center Drive, Suite 500, Irvine, California
     92618.
 6
            On October 5, 2023, I served the foregoing document described as DEFENDANT WESTERN
 7   GOVERNORS UNIVERSITY’S ANSWER TO PLAINTIFF’S COMPLAINT in this action by
     transmitting a true copy thereof as follows:
 8

 9       Kamran Shahabi                                   Attorneys for Plaintiff
         Paul Nolan                                       LINDSEY MACK
10       VALIANT LAW
         800 Ferrari Lane, Suite 100                      Telephone:   (909) 677-2270
11       Ontario, CA 91764                                Fax:         (909) 677-2290
                                                          Email: ks@valiantlaw.com
                                                                 pjn@valiantlaw.com
12

13   [XX] BY MAIL I am "readily familiar" with the firm's practice of collection and processing
     correspondence for mailing. Under that practice it would be deposited with U.S. postal service on that
14   same day with postage thereon fully prepaid at Irvine, California in the ordinary course of business. I am
     aware that on motion of the party served, service is presumed invalid if postal cancellation date or postage
15   meter date is more than one day after date of deposit for mailing in affidavit.
16   [XX] BY E-MAIL OR ELECTRONIC TRANSMISSION Based on a Court order or on an agreement
     by the parties to accept service by e-mail or electronic transmission, I caused the document(s) described
17   above to be sent from e-mail address aracely.escobedo@jacksonlewis.com to the persons at the e-mail
     address listed above. I did not receive, within a reasonable time after the transmission, any electronic
18   message or other indication that the transmission was unsuccessful.
19          I declare under penalty of perjury under the laws of the State of California that the above is true
     and correct. Executed on October 5, 2023, at Irvine, California.
20

21
                                                                  Aracely Escobedo
22
     4892-7511-0785, v. 2
23

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                                                 PROOF OF SERVICE
